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                                                          FILED: April 4, 2024


                    UNITED STATES COURT OF APPEALS
                        FOR THE FOURTH CIRCUIT


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                                  No. 21-1168
                            (1:18-cv-00950-LO-JFA)
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  SONY MUSIC ENTERTAINMENT; ARISTA MUSIC; ARISTA RECORDS,
  LLC; LAFACE RECORDS LLC; PROVIDENT LABEL GROUP, LLC; SONY
  MUSIC ENTERTAINMENT US LATIN LLC; VOLCANO ENTERTAINMENT
  III, LLC; ZOMBA RECORDINGS LLC; SONY/ATV MUSIC PUBLISHING
  LLC; EMI AI GALLICO MUSIC CORP.; EMI ALGEE MUSIC CORP.; EMI
  APRIL MUSIC INC.; EMI BLACKWOOD MUSIC INC.; COLGEMS-EMI
  MUSIC INC.; EMI CONSORTIUM MUSIC PUBLISHING INC., d/b/a EMI Full
  Keel Music; EMI CONSORTIUM SONGS, INC., d/b/a EMI Longitude Music;
  EMI FEIST CATALOG INC.; EMI MILLER CATALOG INC.; EMI MILLS
  MUSIC, INC.; EMI UNART CATALOG INC.; EMI U CATALOG INC.;
  JOBETE MUSIC COMPANY, INCORPORATED; STONE AGATE MUSIC;
  SCREEN GEMS-EMI MUSIC, INCORPORATED; STONE DIAMOND MUSIC
  CORP.; ATLANTIC RECORDING CORPORATION; BAD BOYS RECORDS
  LLC; ELEKTRA ENTERTAINMENT GROUP, INCORPORATED; FUELED
  BY RAMEN LLC; ROADRUNNER RECORDS, INC.; WARNER-
  TAMERLANE PUBLISHING CORPORATION; WB MUSIC CORPORATION;
  UNICHAPPELL MUSIC, INCORPORATED; RIGHTSONG MUSIC INC.;
  COTILLION MUSIC, INCORPORATED; INTERSONG U.S.A., INC.; UMG
  RECORDINGS, INCORPORATED; CAPITOL RECORDS, LLC; UNIVERSAL
  MUSIC CORPORATION; UNIVERSAL MUSIC -MGB NA LLC; UNIVERSAL
  MUSIC PUBLISHING INC.; UNIVERSAL MUSIC PUBLISHING AB;
  UNIVERSAL PUBLISHING LIMITED; UNIVERSAL MUSIC PUBLISHING
  MGB LIMITED; UNIVERSAL MUSIC - Z TUNES LLC;
  UNIVERSAL/ISLAND MUSIC LIMITED; UNIVERSAL/MCA MUSIC
  PUBLISHING PTY. LIMITED; POLYGRAM PUBLISHING, INC.; SONGS OF
  UNIVERSAL, INC.; WARNER RECORDS, INC., f/k/a W.B.M. Music Corp.;
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  WARNER CHAPPELL MUSIC, INC., f/k/a Warner/Chappell Music, Inc.;
  W.C.M. MUSIC CORP., f/k/a W.B.M. Music Corp.

                 Plaintiffs - Appellees

   and

  NONESUCH RECORDS INC.; WARNER BROS. RECORDS, INC.;
  WARNER/CHAPPELL MUSIC, INC.; W.B.M. MUSIC CORP.; UNIVERSAL -
  POLYGRAM INTERNATIONAL TUNES, INC.; UNIVERSAL - SONGS OF
  POLYGRAM INTERNATIONAL, INC.; UNIVERSAL POLYGRAM
  INTERNATIONAL PUBLISHING, INC.; MUSIC CORPORATION OF
  AMERICA, INC., d/b/a Universal Music Corporation; RONDOR MUSIC
  INTERNATIONAL

                 Plaintiffs

  v.

  COX COMMUNICATIONS, INCORPORATED; COXCOM, LLC

                 Defendants - Appellants

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  INTERNET ASSOCIATION; ELECTRONIC FRONTIER FOUNDATION;
  CENTER FOR DEMOCRACY AND TECHNOLOGY; AMERICAN LIBRARY
  ASSOCIATION; ASSOCIATION OF COLLEGE AND RESEARCH
  LIBRARIES; ASSOCIATION OF RESEARCH LIBRARIES; PUBLIC
  KNOWLEDGE; NTCA THE RURAL BROADBAND ASSOCIATION; CTIA -
  THE WIRELESS ASSOCIATION; USTELECOM THE BROADBAND
  ASSOCIATION; INTERNET COMMERCE COALITION; INTELLECTUAL
  PROPERTY LAW PROFESSORS

                 Amici Supporting Appellant

  NATIONAL MUSIC PUBLISHERS' ASSOCIATION; NASHVILLE
  SONGWRITERS ASSOCIATION INTERNATIONAL; SONGWRITERS OF
  NORTH AMERICA; COPYRIGHT ALLIANCE

                 Amici Supporting Appellee
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  LIBRARY FUTURES; FRONTIER COMMUNICATIONS PARENT INC.

                Amici Supporting Rehearing Petition

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                                      ORDER
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        Upon consideration of submissions relative to appellants’ motion to stay the

  mandate, the court grants the motion to stay the mandate pending resolution of the

  appeal in No. 22-1451 and denies the motion to stay the mandate pending resolution of

  a petition for a writ of certiorari in the Supreme Court.

        Entered at the direction of Judge Rushing with the concurrence of Judge Harris

  and Senior Judge Floyd.

                                          For the Court

                                          /s/ Nwamaka Anowi, Clerk
